            Case 4:06-cr-40019-JPG                     Document 913 Filed 02/27/12                     Page 1 of 5          Page ID
A0245D                                                           #2498
             (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet I



                                     UNITED STATES DISTRICT COURT
                                                          Southern District of Illinois

         UNITED STATES OF AMERICA                                        Judgment in a Criminal Case
                             v.
                 Amanda N. Marcum

                                                                         Case No. 4:06CR40019-06-JPG
                                                                         USM No. 06855-025
                                                                           Melissa A. Day, AFPD
                                                                                                  Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           as alleged below                  of the term of supervision.
0   was found in violation of condition(s)             - - - - - - - - - - a f t e r denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                                            Nature of Violation                                   Violation Ended
Statutory                         The defendant committed offense of driving below speed limit                01/02/2012


Standard# 3                       Defendant failed to provide truthful information to probation               01/11/2012


       The defendant is sentenced as provided in pages 2 through _ ___..;5;;.,.__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notifv the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic crrcumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 8757                       02/17/2012



                                                                                     ib@2==
                                                                                     ~
Defendant's Year of Birth:           1986

City and State ofDefendant's Residence:
Centralia, IL 62801
                                                                           J. Phil Gilbert                              District Judge
                                                                                                 Name and Title of Judge



                                                                                                          Date'
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AO 245D                                                        #2499
          (Rev. 09/11) Judgment in a Criminal Case for Revocations
          Sheet lA
                                                                                         Judgment-Page   _-.2_ of     5
DEFENDANT: Amanda N. Marcum
CASE NUMBER: 4:06CR40019-06-JPG

                                                     ADDITIONAL VIOLATIONS

                                                                                                              Violation
Violation Number              Nature of Violation                                                             Concluded
Standard# 9                   Defendant associated with a convicted felon without permission



Standard# 11                  Defendant failed to notify probation regarding contact with law enforcement     01/03/2012
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 AO 245D                                                             #2500
               (Rev. 09/ll) Judgment in a Criminal Case for Revocations
               Sheet 2- Imprisonment
                                                                                                  Judgment- Page _...l3~- of     5
 DEFENDANT: Amanda N. Marcum
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                                                                   IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
 term of:
4 months




      D The court makes the following recommendations to the Bureau of Prisons:




      t/ The defendant is remanded to the custody of the United States Marshal.
      D    The defendant shall surrender to the United States Marshal for this district:
           D     at   --------- D                   a.m.             D    p.m.    on
           D     as notified by the United States Marshal.

      D    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D     before 2 p.m. on
           D     as notified by the United States Marshal.
           D     as notified by the Probation or Pretrial Services Office.

                                                                          RETURN

 I have executed this judgment as follows:




           Defendant delivered on                                                      to

 at   - - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                               UNITED STATES MARSHAL


                                                                                 By
                                                                                            DEPUTY UNITED STATES MARSHAL
              Case 4:06-cr-40019-JPG                      Document 913 Filed 02/27/12                 Page 4 of 5           Page ID
  AO 2450                                                           #2501
              (Rev. 09/11) Judgment in a Criminal Case for Revocations
              Sheet 3 - Supervised Release

                                                                                                    Judgment-Page       4     of        5
  DEFENDANT: Amanda N. Marcum
  CASE NUMBER: 4:06CR40019-06-JPG
                                                             SUPERVISED RELEASE

  Upon release from imprisonment, the defendant shall be on supervised release for a term of:
36 months



           The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
  from the custody ofthe Bureau of Prisons.
  The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from an)' unlawful use of a controlled
  substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
  tests thereafter as determined by the court.
  0     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
  'i{ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
  ~ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
  0     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
        or is a student, as directed by the probation officer. (Check, if applicable.)
  0     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
           If this judgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
  with the Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
  conditions on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
  1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)        the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
            officer;
  4)        the defendant shall support his or her dependents and meet other family responsibilities;
  5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
            or other acceptable reasons;
  6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
            convicted of a felony, unless granted permission to do so by the probation officer;
  10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
            confiscation of any contraband observed in plain view of the probation officer;
  11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
            enforcement officer;
  12)       th~ defendant sha}l ~ot enter into any agreement to act as an informer or a special agent of a law enforcement agency
            without the permission of the court; and
  13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
            defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
            notifications and to confirm the defendant's compliance with such notificatton requirement.
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 AO 2450                                                           #2502
            (Rev. 09/11) Judgment in a Criminal Case for Revocations
            Sheet 3C- Supervised Release
                                                                                        Judgment-Page   _5_ of _ __..;5:;......_
 DEFENDANT: Amanda N. Marcum
 CASE NUMBER: 4:06CR40019-06-JPG

                                             SPECIAL CONDITIONS OF SUPERVISION

The defendant shall spend the first six months of supervision in a halfway house.

The defendant shall have no contact with Rose Berkel or Montana Harris

The defendant shall participate in a program of mental health treatment as directed by the probation officer until such time
as the defendant is released from the program by the probation officer.

The defendant shall participate as directed and approved by the probation officer in a program for treatment of narcotic
addiction, drug dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and
which may require residence and/ or participation in a residential treatment facility, or residential reentry center. Any
participation in treatment will require complete abstinence from all alcoholic beverages and illegal substances. The
defendant shall pay for the costs associated with substance abuse counseling and/or testing based on a co-pay sliding fee
scale approved by the United States Probation Office. Co-pay shall never exceed the total costs of counseling. The
number of durg and/or alcohol tests may not exceed 52 tests per year.
